Case: 6:17-cv-00157-CHB-HAI Doc #: 80 Filed: 08/22/18 Page: 1 of 2 - Page ID#: 607



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           SOUTHERN DIVISION AT LONDON



DAVID WILSON, as Administrator of the
Estate of Lisa Noble, Deceased, Plaintiff
                                            )
vs.                                         )
                                            )    CIVIL ACTION NO. 6:17-157-KKC
                                            )
BEACON TRANSPORT, LLC and                   )
TERRAN COOPER, Defendants                   )
                                            )
____________________________________


                      AMENDED NOTICE TO TAKE DEPOSITION

       Notice is hereby given that the Defendants, by counsel, will proceed to take the deposition

of William Baldwin, Ph. D. on the 30th day of August, 2018 at 11:00 a.m. E.S.T at Hughes

Reporting Office, 710 East Main Street, Lexington, KY 40502.

       Said deposition will be taken upon cross-examination, for purposes of discovery and for all

other purposes allowable under the Kentucky Rules of Civil Procedure.

       This the 22nd day of August, 2018.

                                            JUDD, SATTERFIELD & ASSOCIATES, PLLC
                                            869 Broadway Avenue
                                            P.O. Box 51093
                                            Bowling Green, KY 42102
                                            Telephone: (270) 904-4141
                                            Facsimile: (888) 590-2842

                                            /s/Harlan E. Judd, III____________
                                            Harlan E. Judd, III
Case: 6:17-cv-00157-CHB-HAI Doc #: 80 Filed: 08/22/18 Page: 2 of 2 - Page ID#: 608




                                CERTIFICATE OF SERVICE

        This is to certify that a true and exact copy of the foregoing was placed in the U.S. Mail
on the 22nd day of August, 2018, addressed to the following:

Randall Jewell
Jewell Law Office, PLLC
P.O. Drawer 670
Barbourville, Kentucky 40906

Billy J. Taylor
Taylor Law Office, PLLC
110 Know Street, Suite A
Barbourville, Kentucky 40906

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Suite 2150
401. W. Main Street
Louisville, Kentucky 40202

William Baldwin, Ph.D.
1500 Lakewood Drive
Lexington, KY 40502



                                             /s/Harlan E. Judd, III____________
                                             Harlan E. Judd, III
                                             Counsel for the Defendants




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